Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 1 of 12




                  EXHIBIT B-148
   Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 2 of 12


                                                                                     FILED IN OFFICE


                   IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                                    DEPUTY CLERK SUPERIOR COURT
                                                                                         FULTON COUIHY, GA
                                     STATE OF GEORGIA

INRE:                                         )
                                              )       2022-EX-000024
SPECIAL PURPOSE GRAND JURY                    )
                                              )       Judge Robert C. I. McBurney
                                              )
                                              )
                                              )


 MOTION TO DISQUALIFY ATTORNEY KIMBERLY BOURROUGHS DEBROW IN
   HER SIMULTANEOUS REPRESENTATION OF MULTIPLE PARTIES IN THIS
  MATTER AND TO PROHIBIT HER FROM ANY FURTHER PARTICIPATION IN
 THIS MATTER PURSUANT TO GEORGIA RULES OF PROFESSIONAL CONDUCT
           RULES 1.6, 1.7, AND 1.9 AND OTHER RELEVANT LAW


        COMES NOW District Attorney Fani T. Willis, Atlanta Judicial Circuit, and moves this

Court to disqualify Kimberly Bourroughs Debrow in her simultaneous representation of multiple

parties in this matter and prohibit her from any further participation in this matter pursuant to

Georgia Rules of Professional Conduct Rules 1.6, 1.7, and 1.9 and other relevant law. The status

quo that existed whereby Ms. Debrow represents 10 of the electors has changed, and problems

have arisen whereby such representation is now untenable.

                                      I.      INTRODUCTION

        The Georgia Rules of Professional Conduct plainly state that "a lawyer shall not

represent or continue to represent client if there is significant risk that the lawyer's own interests

or the lawyer's duties to another client, former client, or third person will materially and

adversely affect the representation of the client," subject to limited exceptions requiring written

informed consent of the client. GA. R. & REGS. ST. BAR 1.7(a). Client consent is not permissible

if the representation "includes the assertion of claim by one client against another client

represented by the lawyer in the same or substantially related proceeding" or if the representation
   Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 3 of 12




"involves circumstances rendering it reasonably unlikely that the lawyer will be able to provide

adequate representation to one or more of the affected clients." GA. R. & REGS.ST. BAR l.7(c).

"In a criminal case, inquiry by the court is generally required when a lawyer represents multiple

defendants." GA. R. & REGS.ST. BAR 1.7, Cornrnerit 15 (emphasis added). "Where the conflict is

such as clearly to call into question the fair or efficient administration of justice, opposing

counsel may properly raise the question." Id. "The prosecutor has the responsibility of minister

of justice and not simply that of an advocate. 1bis responsibility carries with it Specific

obligations to see that the defendant [or, in this case, the target of an investigation] is accorded

procedural justice." GA. R. & REGS.ST. BAR3.8, Comment 1. "In light of the prosecutor' public

responsibilities, broad authority and discretion, the prosecutor has a heightened duty of candor to

the courts and in fulfilling other professional obligations." ABA STAND.CRIM.JUST.REL.PROS.

FUNCT.3-1.4(a).

       Accordingly, as set forth below, and in conformity with the Georgia Rules of

Professional Conduct and relevant guidance related to the ethical duties and obligations of

prosecutors under applicable rules, statutes, and both the United States Constitution and the

Georgia Constitution, the District Attorney is compelled to move the Court to disqualify attorney

Kimberly Bourroughs Debrow in her simultaneous representation of her clients in this matter and

to prohibit her from any further participation in this matter. The District Attorney is so compelled

not only because it is paramount that the District Attorney, as minister of justice, must guarantee

that the constitutional and statutory rights of all persons are preserved at every stage of a criminal

proceeding, but also because the District Attorney's failure to do so would be fundamentally at

odds with every lawyer's duties as "a representative of clients, an officer of the legal system, and

a citizen having special responsibility for the quality of justice." GA.R. & REGS.ST. BAR,PMBL.
    Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 4 of 12




                   II.    FACTUAL AND PROCEDURALBACKGROUND

       On January 24, 2022, Fulton County Superior Court Chief Judge Christopher S. Brasher

issued an order authorizing the impaneling of a special purpose grand jwy to investigate the facts

and circumstances relating directly or indirectly to possible attempts to disrupt the lawful

administration of the 2020 elections in the State of Georgia. This order was issued pursuant to

lawful request by the District Attorney.

       During the course of her investigation, the District Attorney learned that attorneys Holly

A. Pierson and Kimberly Bourroughs Debrow had been retained to simultaneously represent 11

relevant clients, including Mark Amick, Joseph Brannan, Brad Carver, Vikki Townsend

Consiglio, John Downey, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,

David Shafer, Shawn Still, and C.B. Yadav, each of whom had signed their names to the false

certificate of vote purporting to be the duly elected and qualified presidential electors for the

State of Georgia at the meeting on December 14, 2020.

       In July, 2022, this Court directed the Fulton County District Attorney's Office election

investigation team to have conversations with Ms. Pierson .and Ms. Debrow about immunity for

their clients. The investigation team complied with this request; however, during the

conversation with the Court regarding immunity, the Court did not place a requirement ordering

the election investigation team to specify which electors could potentially receive immunity from

prosecution. Rather, the Court illstructed Ms. Pierson and Ms. Debrow to broach the

conversation with all their clients, thereby extending the idea of a blanket offer of immunity, in

efforts to gauge each individual electors' interest. On August 5, 2022, Ms. Pierson reported to

the Court that she and Ms. Debrow had spoken to their clients about potential offers of immunity

from prosecution and that none of their clients were interested.
    Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 5 of 12




        On October 3, 2022, the District Attorney filed a Motion to Disqualify Attorneys Holly

A. Pierson and Kimberly Bourroughs Debrow in their Simultaneous Representation of the

above-referenced 11 persons. On November 30, 2022, this Court ruled that Attorneys Pierson

and Debrow could "represent David Shafer or the other ten alternate electors - but not both."

Later, Ms. Debrow proposed for her to continue representing the "other ten alternate electors"

and for Ms. Pierson to separately represent David Shafer. This Court allowed this arrangement to

proceed and stated in an e-mail to all parties, "The disqualification was never premised on the

identity of the lawyers but rather the impracticability and ethical mess of simultaneously

representing eleven clients who, despite their lawyers' protestations to the contrary, were

differently situated....   [S]hould problems arise to which good faith legal objections can be

made, please let me know and I will address them."

        The issue of representation of the current status quo of Ms. Debrow representing 10 of

the electors has reached an "impracticable and ethical mess," as events in the past week have

shown. On April 12, 2023 and April 14, 2023, members of the Fulton County District Attorney's

Office interviewed certain of the electors represented by Ms. Debrow, with Ms. Debrow in

attendance. During these interviews, some of the electors stated that another elector represented

by Ms. Debrow committed acts that are violations of Georgia law and that they were not party to

these additional acts.

        Additionally, in these interviews, some of the electors represented by Ms. Debrow told

members of the investigation team that no potential offer of immunity was ever brought to them

in 2022, which is in direct conflict with Ms. Debrow's co-counsel Ms. Pierson's representation

to this Court in August, 2022.
   Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 6 of 12




                                     III.    LEGAL ANALYSIS

       A. Debrow's simultaneous representation of her 10 clients is rife with serious
          ethical problems, and these actual conflicts of interest and serious potential for
          future conflicts violate Rule 1.7 of the Georgia Rules of Professional Conduct.

       Rule I. 7 of the Georgia Rules of Professional Conduct prohibits a lawyer from

representing or continuing to represent a client "if there is significant risk that .the lawyer's own

interests or the lawyer's duties to another client, former client, or third person will materially and

adversely affect the representation of the client," except as permitted in limited circumstances

requiring written informed consent of the client. GA.R. &REGS.ST.BAR 1.7(a). Client consent is

not permissible if the representation "includes the assertion of claim by one client against another

client represented by the lawyer in the same or substantially related proceeding" or if the

representation "involves circumstances rendering it reasonably unlikely that the lawyer will be

able to provide adequate representation to one or more of the affected clients." GA. R. & REGS.

ST. BAR 1.7(c). The potential for conflict of interest in representing multiple parties in criminal

matter "is so grave that ordinarily a lawyer should decline to represent" more than one party in

such circumstance. GA. R. & REGS.ST.BAR 1.7, Comment 7.

        In Heidt v. State, the Georgia Supreme Court upheld trial court's disqualification of

counsel when Heidt hired attorney Manubir Arora to assist in his defense while Arora

simultaneously represented Heidt's sister-in-law Robin, who had been arrested and charged with

intimidating a witness in the case against Heidt, despite the fact that Heidt and Robin had

consented to simultaneous representation. 292 Ga. 343 (2013). Notably, the prosecutor intended

to call Robin as witness atHeidt's trial. Id. at 347. The Court held that while "Heidt and Robin

may not have foreseen any conflict between their interests at the time that they consented to the

dual representation, we know that their interests ultimately were not aligned, inasmuch as Robin

ended up testifying against Heidt, and the criminal charges against her were dismissed." Id. The
    Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 7 of 12




trial court disqualified Arora, and the Court affmned the disqualification because "the prospects

of Arora advising Robin about any deal that might be proposed ·by the State to secure her

testimony against Heidt or cross-examining her on behalf of Heidt were rife with serious ethical

problems." Id. The trial court further ruled that "Arora's representation of Robin would

materially and adversely affect his representation of Heidt" in violation of Rule 1.7(c)(3), and the

Georgia Supreme Court agreed. Id. Moreover, the Court recognized that in cases where

constitutional right to choice of counsel exists - and the District Attorney maintains that no such

constitutional right exists in the present case - "the presumption in favor of an accused's choice

of counsel may be overcome not only by demonstration of an actual conflict of interest but by

showing of serious potential for conflict." Id. at 346 (internal citations omitted) (emphasis

added).

       This situation clearly "includes the assertion of a claim by one client against another

client represented by the lawyer in the same or a substantially related proceeding" and clearly

involves "circumstances rendering it reasonably unlikely that the lawyer will be able to provide

adequate representation to one or more of the affected clients." Multiple of Ms. Debrow's clients

have made adverse claims against another of Ms. Debrow's clients in this same proceeding. It is

unfathomable how Ms. Debrow can offer competent and adequate counsel to her client who has

been accused of further crimes; any claim of all 10 of her clients being similarly situated has

gone out the window and any additional consent by her clients as to joint representation cannot

cure these ethical issues and conflicts of interest.
   Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 8 of 12




       B. Debrow's simultaneous representation of her 10 clients poses a serious risk to
          the fundamental principle of confidentiality of information relating to the
          representation, and, if disqualified, she should be prevented from any further
          participation in this matter in order to maintain the duty of confidentiality.

       Rule 1.6 of the Georgia Rules of Professional Conduct provides that a lawyer "shall

maintain in confidence all information gained in the professional relationship with client,

including information which the client has requested to be held inviolate or the disclosure of

which would be embarrassing or would likely be detrimental to the client, unless the client gives

informed consent." GA. R. & REGS. ST. BAR 1.6(a). "The duty of confidentiality shall continue

after the client-lawyer relationship has terminated." GA. R. & REGS. ST. BAR l.6(c). In order to

protect the ongoing duty of confidentiality arising from former attorney-client relationship,

Rule 1.9 provides .that a "lawyer who has formerly a represented client in a matter shall not

thereafter use information relating to the representation to the disadvantage of the former client

... [or] reveal information relating to the representation." GA.R. & REGS. ST.BAR1.9(c).

       In Edwards v. State, the Court of Appeals of Georgia upheld the trial court's sua sponte

disqualification of the defendant's counsel after a jury was impaneled and sworn to try that

defendant on charges of rape and child molestation, 336 Ga. App. 595 (2016). Prior to the

presentation of any evidence, the defendant's counsel and the prosecutor brought to the attention

of the trial court that the defendant's counsel had previously represented the victim's mother in

unrelated proceedmgs and, through that representation, had learned confidential information that

could be used to impeach her if she were to testify at the trial of Edwards. Id. at 595. Nothing in

the record showed that the victim's mother had waived the conflict or consented to.the disclosure

or use of the confidential information. Id. at 596. The Court of Appeals noted that, in that case,

the conflict could have been waived if both the current and former clients had consulted with

their attorney, had received in writing reasonable and adequate information about the material
    Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 9 of 12




risks and reasonable available alternatives to the representation, and an opportunity to consult

with independent counsel. Id. at 599. But in that case, the conflict only dealt with the potential

use of information to the disadvantage of only a single former client.

       In this case, the body of information - including potentially incriminating information

and information that could be used for impeachment or otherwise to the disadvantage of former

client - gained by Debrow concerning each of her 10 clients in the course of her simultaneous

representation is undoubtedly vast. The serious potential that any of that information might be

used to the disadvantage of a former client, should Debrow be allowed to continue in her

representation of even just one of the 10, must be a matter of grave concern for the Court. The

District Attorney's Office understands that Ms. Debrow's 10 clients have signed an "Informed

Consent to Continued Joint Representation" in which they have waived the conflicts inherent in

joint representation. This waiver may have sufficed before the recent interviews with some of the

electors, but the situation has changed. Obtaining additional informed consent in accordance with

the provisions of Rule 1.7(b) for up to as many as nine former clients, solely for the sake of

continued representation of just one of them, would be an enormously complicated undertaking

with the potential for ethical problems at multiple stages and little opportunity for meaningful

remedy for the affected former clients should an ethical violation occur. And the events of the

past week show that such a waiver cannot and will not work in this case.

        Accordingly, in order to avoid potential violations of Rules 1.6, 1.7, and 1.9 of the

Georgia Rules of Professional Conduct, the only appropriate course of action by the Court is a

prophylactic one: prohibiting Debrow from any further participation in this matter. The statement

of some of her clients that directly implicate another client in additional crimes shows that Ms.
   Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 10 of 12




Debrow's continued participation in this matter is fraught with conflicts of interest that rise to the

level of her being disqualified from this case in its entirety.

                                        IV.     CONCLUSION

       As set forth above, the Georgia Rules of Professional Conduct plainly state that a lawyer

has a conflict of interest "if there is significant risk that the lawyer's own interests or the

lawyer's duties to another client, former client, or third person will materially and adversely

affect the representation of the client." GA. R. & REGS. ST. BAR 1.7(a). Such conflict cannot be

waived if representation "includes the assertion of claim by one client against another client

represented by the lawyer in the same or substantially related proceeding" or if the representation

"involves circumstances rendering it reasonably unlikely that the lawyer will be able to provide

adequate representation to one or more of the affected clients." GA.R. & REGS. ST.BAR 1.7(c).

        Further, a lawyer must generally maintain in confidence all information gained as result

of the attorney-client relationship, even after that relationship has terminated. GA.R. & REGS. ST.

BAR 1.6(c). In order to protect the ongoing duty of confidentiality arising from former attorney-

client relationship, a "lawyer who has formerly represented a client in a matter . . . shall not

thereafter use information relating to the representation to the disadvantage of the former client

... [or] reveal information relating to the representation." GA.R. & REGS. ST.BAR1.9(c).

        Should Debrow be allowed to continue in her representation of even just one of the 10

electors, there is a serious possibility of future ethical problems concerning confidentiality of

information obtained in the course of her representation thus far. Moreover, if continued

participation in this matter in any way were allowed, there would be little opportunity for

meaningful remedy for the affected former clients should an ethical violation occur.
   Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 11 of 12




       Accordingly, the appropriate remedy under Rules 1.6, 1.7, and 1.9 of the Georgia Rules

of Professional Conduct and other relevant law is disqualification of attorney Kimberly

Bourroughs Debrow in her simultaneous representation of her IO clients in this matter and the

prohibition of any further participation by Debrow in this matter.

       WHEREFORE, based on the foregoing facts and law, the District Attorney respectfully

requests that this Court disqualify attorneys Kimberly Bourroughs Debrow in her simultaneous

representation of her clients in this matter and prohibit her from any further participation in this

matter pursuant to Georgia Rules of Professional Conduct Rules 1.6, 1.7, and 1.9 and other

relevant law.



       Respectfully submitted this the 18th day of April, 2023,




                                                      Atlanta Judicial Circuit
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   Case 1:23-cv-03721-SCJ Document 1-160 Filed 08/21/23 Page 12 of 12




                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing Motion to Disqualify will be served upon
Kimberly Bourroughs Debrow via electronic mail, this the 18th day of April, 2023,




                                                    FANI T. WILLIS
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